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       EXHIBIT 17
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                                                                                                   U.S. Department of Homeland Security
                                                                                                   Washington, DC 20528




                                                                                                   Homeland
                                                                                                   Security
                                                                                                   Privacy Office, Mail Stop 0655


                                                          April 6, 2023

SENT VIA E-MAIL TO: oversightproject@heritage.org

Mike Howell
The Heritage Foundation
214 Massachusetts Ave, NE
Washington, District of Columbia 20002

Re: 2023-HQFO-01164

Dear Mr. Howell:

This acknowledges receipt of your Freedom of Information Act (FOIA) request to the Department of Homeland Security (DHS),
dated 3/8/2023, and seeking

Section 1) All records within the Alien File (A-File) of Prince Henry Charles Albert David (Date of Birth 09/15/1984) of the
British Royal Family aka Prince Harry aka His Royal Highness Prince Henry of Wales aka the Duke of Sussex, including but not
limited to:
•         Any and all applications for immigration benefits filed, whether or not adjudicated
•         Any and all Forms I-213
•         Any and all Forms I-275
•         Any and all Forms I-877

Section 2) All records pertaining to the Duke of Sussex in the following system of records maintained by CBP and DHS
•         Automated Targeting System (ATS, DHS/CBP-006)
•         Advance Passenger Information System (APIS, DHS/CBP-005)
•         Border Crossing Information System (BCIS, DHS/CBP-007)
•         U.S. Customs and Border Protection TECS (DHS/CBP-011)
•         Non-Federal Entity Data System (NEDS, DHS/CBP-008)
•         DHS Use of the Terrorist Screening Database (TSDB) System of Records (DHS/ALL-030)
•         CBP Intelligence Records System (CIRS, DHS/CBP-024)
•         DHS Automated Biometric Identification System (IDENT, DHS/USVISIT-004)
•         Electronic System for Travel Authorization (ESTA, DHS/CBP-009)
•         Nonimmigrant Information System (NIIS, DHS/CBP-016)
•         Arrival and Departure Information System (ADIS, DHS/CBP-021)
•         Electric Visa Update System (EVUS., DHS/CBP-022).

Section 3) All records relating to any requests for waiver pursuant to Section 212(d)(3) of the Immigration and Nationality Act
including, but not limited to, email communications within the DHS Office of the Secretary, the USCIS Office of the Director,
the CBP Office of the Commissioner, or any subordinate office within those named departments or agency or a record of any
communication between any of those named entities and the U.S. Department of Stater, the U.S. Embassy in London, the Federal
Bureau of Investigation, or U.S. Immigration and Customs Enforcement.

Your request was received in this office on 3/8/2023.

After careful review of your FOIA request, we determined that your request is too broad in scope, did not specifically identify the
records which you are seeking, or only posed questions to the agency. Records must be described in reasonably sufficient detail
to enable government employees who are familiar with the subject area to locate records without placing an unreasonable burden
upon the agency. For this reason, §5.3(b) of the DHS regulations, 6 C.F.R. Part 5, require that you describe the records you are
seeking with as much information as possible to ensure that our search can locate them with a reasonable amount of effort.
Whenever possible, a request should include specific information about each record sought, such as the date, title or name,
author, recipients, and subject matter of the records, if known, or the CISA program office you believe created and/or controls the
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record. The FOIA does not require an agency to create new records, answer questions posed by requesters, or attempt to interpret
a request that does not identify specific records.

Please resubmit your request containing a reasonable description of the records you are seeking. This is not a denial of your
request. Upon receipt of a perfected request, you will be advised as to the status of your request. If we do not hear from you
within 30 days from the date of this letter, we will assume you are no longer interested in this FOIA request, and the case will be
administratively closed.

Your request has been assigned reference number 2023-HQFO-01164. Please refer to this identifier in any future
correspondence. The status of your FOIA request is now available online and can be accessed at:
https://foiarequest.dhs.gov/app/CheckStatus.aspx, by using this FOIA request number.

If you have any questions, or would like to discuss this matter, please feel free to contact this office at 1-866-431-0486 or at 202-
343-1743.

                                                             Sincerely,




                                                             Jimmy Wolfrey

                                                               Senior Director, FOIA Operations and Management (Acting)
